
318 S.W.3d 321 (2010)
In the Interest of: X.H., a minor.
No. ED 93801.
Missouri Court of Appeals, Eastern District, Division Five.
August 24, 2010.
Patricia Harrison, Coren Brown, Sarah Hall, Rebecca Reed, and Andrew VonGontard, Saint Louis University Law Clinic, St. Louis, MO, for Appellant.
Margaret E. Gangle, Juvenile Officer, St. Louis, MO, for Respondent.
Before GARY M. GAERTNER, JR., P.J., MARY K. HOFF, J. and PATRICIA L. COHEN, J.


*322 ORDER

PER CURIAM.
X.H. appeals the from the judgment of the juvenile court finding him to have committed the delinquent offenses of first-degree robbery, in violation of Section 569.020, RSMo 2000,[1] and third-degree assault, in violation of Section 565.050, and ordering X.H. into the legal and physical custody of the Division of Youth Services for appropriate placement. We affirm.
We have reviewed the briefs of the parties, the legal file, and the record on appeal, and find the claims of error to be without merit. An extended opinion would have no precedential value or serve any jurisprudential purpose. The parties have been furnished with a memorandum for their information only, setting forth the reasons for this order pursuant to Rule 84.16(b).
NOTES
[1]  Unless otherwise indicated, all further statutory references are to RSMo 2000.

